Case 2:07-cv-01929-ABC-AGR Document 121 Filed 04/18/08 Page 1 of 4 Page ID #:605




     1   GREENBERG TRAURIG, LLP
         IAN C. BALLON (SBN 141819)
     2
         WENDY M. MANTELL (SBN 225544)
     3   LORI CHANG (SBN 228142)
         2450 COLORADO AVENUE, SUITE 400E
 4       Santa Monica, California 90404
         Telephone: (310) 586-7700
 5       Facsimile: (310) 586-7800
 6
         Email: ballon@gtlaw.com, mantellw@gtlaw.com,
         changl@gtlaw.com
 7
         Attorneys for Plaintiff
 8       MYSPACE, INC.
 9

10
                                    UNITED STATES DISTRICT COURT

11                              CENTRAL DISTRICT OF CALIFORNIA
12        MYSPACE, INC., a Delaware               CASE NO. CV-07-1929 ABC (AGRx)
          Corporation,
13
                                                  DECLARATION OF SHING YIN
14                     Plaintiff,                 KHOR IN SUPPORT OF
                                                  MYSPACE, INC.'S MOTION FOR
15        v s.                                    DEFAULT JUDGMENT AGAINST
                                                  DEFENDANTS SANFORD
16       SANFORD WALLACE D/B/A                    WALLACE AND WALTER RINES
17
         FREEVEGASCLUBS.COM , REAL-
         VEGAS-SINS.COM, and FEEBLE
         MINDED PRODUCTIONS, an                   Filed Concurrently With:
18
         individual; WALTER RINES, an             Notice of Motion and Motion;
19       individual; ONLINE TURBO                 Memorandum; Declaration of Lori
         MERCHANT, INC., a corporation;           Chang; Declaration of Joseph
20
         and ODYSSEUS MARKETING,                  Marotta; Declaration of Kevin Datoo;
21       INC., a corporation,.                    and [Proposed] Order.
22                     Defendants.                Date: May 12, 2008
23                                                Time: 10:00 a.m.
                                                  Ctrm: 680
24                                                Judge: Hon. Audrey B. Collins
25

26

27

28

                          DECLARATION OF SHING YIN KHOR IN SUPPORT OF MYSPACE'S
                            MOTION FOR DEFAULT JUDGMENT AGAINST DEFENDANTS
       Case 2:07-cv-01929-ABC-AGR Document 121 Filed 04/18/08 Page 2 of 4 Page ID #:606
                     xerox                                                   10:02:35   04-18-2008       2/6
3109697069




             1                         DECLARATION OF SHING YIN KHOR
             2        I, Shing Yin Khor, do declare as follows:
             3        1.     I am a Security Manager for Fox Interactive Media. Prior to my current
             4 position, from January to December 2007, I was an Abuse Specialist for MySpace, Inc.
             5 ("MySpace"), located in Beverly Hills, California. The following facts are known by me
             6 to be true and correct and if called as a witness I could and would competently testify
             7 thereto under oath.
             8        2.     Previously, I prepared and executed a declaration in support of MySpace,
             9 Inc.'s Motion To Modify The Court's Preliminary Injunction Order, filed on October 1,
         10 2007. In paragraph 3 of that declaration, I stated that "approximately 780,000 messages
        11 were sent through 55,000 separate MySpace accounts" in August 2007.
         12           3.     I subsequently discovered, however, that this was statement was incorrect.
        13 On Tuesday, April 1, 2008, I discovered a mistake in the recording of the number of
        14 email messages that were discovered on August 14, 2007 and which related to the attack
        15 involving spam messages with an overlay of a fake video image ("fake video messages").
        [6 The number of such messages sent was 78,137 and not 780,000, as previously stated in
        17 my prior declaration executed on October 1, 2007.
        18            4.     On August 14, 2007, Jason Wiley, a member of the MySpace Abuse Team,
        19 performed a search of user inboxes ("mail search"), upon my request, to determine the
        20 number of fake video messages that were sent at that time. The result of that search
        21 revealed 78,137 messages; but I accidentally recorded the number as 780,000. Precisely,
        22 these 78,137 messages were sent through 53,162 separate MySpace accounts to 69,829
        23 recipients.
        24           5.      The attacks involving the fake video messages did not stop on August 14. I
        25 and other members of the Abuse Team continued to investigate these attacks thereafter,
        26 and discovered that similar messages were being sent, though the content of the messages
        27 had changed. The text of the messages in these subsequent fake video messages involved
        28 at least 19 to 20 additional URLs similar to those I discovered on August 14.
                                 DECLARATION OF SHING YIN KHOR IN SUPPORT OF MYSPACE'S
                                   MOTION FOR DEFAULT JUDGMENT AGAINST DEFENDANTS
      Case 2:07-cv-01929-ABC-AGR Document 121 Filed 04/18/08 Page 3 of 4 Page ID #:607
3109697069       xerox                                                    10:02:58   04-18-2008      3 /6




           1     6.      On August 26, 2007, Mikhail Berlyant, a senior data architect for MySpace,
        2 performed a second mail search for message 's containing any of the URLs involved with
        3 these attacks. He did this by searching in one out of every 20 databases maintained by
        4 MySpace (each database containing one million user inboxes). From that sampling, Mr.
        5 Berlyant confirmed that at least an additional 130,908 messages were sent as part of this
        6 same campaign. Mr. Berlyant reported these findings to myself and other members of
        7 the Abuse Team in the ordinary course of our investigation of these attacks.
        8        I declare under penalty of perjury under the laws of the State of California that the
        9 foregoing is true and correct and that this Declaration was executed on April 18, 2008 at
       10 Beverly Hills, California.
      11
       12
      13
      14
       15
      [6
      17
      18
      19
      20
      21
      22
      23
      24
      25
      26
      27
      28
                                                       2
                             DECLARATION OF SHING YIN KHOR IN SUPPORT OF MYSPACE'S
                               MOTION FOR DEFAULT JUDGMENT AGAINST DEFENDANTS
Case 2:07-cv-01929-ABC-AGR Document 121 Filed 04/18/08 Page 4 of 4 Page ID #:608



                                              PROOF OF SERVICE
 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
         I am employed in the aforesaid county, State of California; I am over the age of 18 years and not a party
 to the within action; my business address is 2450 Colorado Avenue, Suite 400E, Santa Monica, California 90404.
         On April 18, 2008, I served the DECLARATION OF SHING YIN KHOR IN SUPPORT
 PLAINTIFF MYSPACE, INC.'S NOTICE OF MOTION AND MOTION FOR DEFAULT JUDGMENTS
 AGAINST DEFENDANTS SANFORD WALLACE AND WALTER RINES; on the interested parties in this
 action by placing the true copy thereof, enclosed in a sealed envelope, postage prepaid, addressed as follows:
 Z (BY MAIL)
             I am readily familiar with the business practice of my place of employment in respect to the
      collection and processing of correspondence, pleadings and notices for mailing with United States
      Postal Service. The foregoing sealed envelope was placed for collection and mailing this date
      consistent with the ordinary business practice of my place of employment, so that it will be picked up
      this date with postage thereon fully prepaid at Santa Monica, California, in the ordinary course of such
      business.

            Sanford Wallace                                Walter Rines
            7800 S. Rainbow Blvd., Apt. 1118               6 Laurel Lane
            Building 26                                    Stratham, NH 03885
            Las Vegas, NV 89139

            Sanford Wallace
            6130 W. Flamingo Rd. #205
            Las Vegas, NV 89103

         (BY OVERNITE EXPRESS)
           I am readily familiar with the business practice of my place of employment in respect to the collection
           and processing of correspondence, pleadings and notices for delivery by Overnite Express. Under the
           practice it would be deposited with Overnite Express on that same day with postage thereon fully
           prepared at Santa Monica, California in the ordinary course of business. I am aware that on motion of
           the party served, service is presumed invalid if delivery by Overnite Express is more than one day after
           date of deposit with Overnite Express.
             Sanford Wallace                                 Sanford Wallace
             7800 S. Rainbow Blvd., Apt. 1118                6130 W. Flamingo Rd. #205
            Building 26                                      Las Vegas, NV 89103
            Las Vegas, NV 89139


 Z (FEDERAL)               I declare under penalty of perjury that the foregoing is true and correct, and that
                           I am employed at the office of a member of the bar of this Court at whose
                           direction the service was made.

         Executed on April 18, 2008, at Santa Monica, Californi




                                                                                  Print Name


                                             PROOF OF SERVICE
